                                COURT OF APPEALS FOR THE
                           FIRST DISTRICT OF TEXAS AT HOUSTON

                                             ORDER

Appellate case name:     In re Eunice Kelm

Appellate case number:   01-18-00688-CV

Trial court case number: 2018-008

Trial court:             County Court at Law of Washington County

       Relator Eunice Kelm has filed a mandamus petition, seeking relief from an order requiring
her to submit to a medical examination. Relator has also filed a motion for temporary relief
“staying Respondent’s July 23, 2018 order and further proceedings in Washington County cause
number 2018-008, including discovery, until this Court considers and rules on the merits of
Relator’s Petition for Writ of Mandamus.”

        The motion is GRANTED IN PART. Pending further order from this court, the July 23,
2018 “Order for Independent Medical Examination” is temporarily stayed insofar as relator is not
required to appear for the mental examination pending this court’s consideration of the mandamus
petition. The motion is, in all other respects, DENIED.

       It is so ORDERED.

Judge’s signature: /s/ Michael Massengale
                    Acting individually      Acting for the Court


Date: August 14, 2018
